      Case 4:22-cv-00192-SMR-HCA Document 3 Filed 06/21/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA
                                  Central Division

  TIFFANY M. SCHRINER, individually and )
  on behalf of all others similarly situated, )
                                              )
                                  Plaintiff,  )
                                              ) Case No.: 4:22-cv-00192-SMR-HCA
                  v.                          )
                                              )
  DENTONS DAVIS BROWN PC,                     )
                                              )
                                  Defendant.  )
  ____________________________________ )


                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Tiffany M. Schriner voluntarily

dismisses without prejudice all claims against Defendant Dentons Davis Brown PC.

Dated: June 21, 2022                      /s/ J. Barton Goplerud
                                          J. Barton Goplerud
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